        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 1 of 16



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 6   GABRIEL LOPEZ
 7
                                  UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10
      GABRIEL LOPEZ,                                  CASE NO.
11                                                    Civil Rights
             Plaintiff,
12                                                    COMPLAINT FOR PRELIMINARY AND
             v.                                       PERMANENT INJUNCTIVE RELIEF AND
13                                                    DAMAGES:
      ENJAY, INC. dba CARLOS AMEZCUA
14    INSURANCE; HEBBRON PROPERTIES,                 1. Violations of Americans with Disabilities Act
      LLC; A S & M M CAVA 1993 TRUST                    of 1990 (42 U.S.C. § 12101 et seq.)
15
                                                     2. Violation of the California Unruh Act (Cal.
16           Defendants.                                Civil Code §§ 51 and 52)

17                                                   3. Violation of the California Disabled Persons
                                                        Act (Cal. Civil Code § 54 et seq.)
18

19                                                    DEMAND FOR JURY TRIAL
            Plaintiff GABRIEL LOPEZ complains of Defendants ENJAY, INC. dba CARLOS
20
     AMEZCUA INSURANCE; HEBBRON PROPERTIES, LLC; A S & M M CAVA 1993 TRUST,
21
     and alleges as follows:
22
            1.      INTRODUCTION: Defendants denied disabled Plaintiff GABRIEL LOPEZ an
23
     accessible parking space and accessible paths of travel from the parking lot to the Carlos
24
     Amezcua Insurance located at 7 N. Hebbron Ave, Salinas California. Plaintiff bought his car
25
     insurance for all of his vehicles at Carlos Amezcua Insurance, and he must periodically go the
26
     facility in person to pay insurance premiums and change the vehicles that are on his policy. He
27
     has gone there for years for his insurance needs. He has also complained repeatedly to Defendant
28
                                                       1
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 2 of 16



 1   ENJAY, INC. about the inaccessible parking conditions prior to filing this lawsuit, but nothing

 2   was ever fixed. This lawsuit followed.

 3           2.      Defendants have denied disabled Plaintiff GABRIEL LOPEZ accessible public

 4   facilities at Carlos Amezcua Insurance in Salinas, California. Plaintiff is a “person with a

 5   disability” who requires the use of a wheelchair for mobility. He is unable to fully enjoy use of

 6   the parking public facilities and paths of travel which are not accessible to mobility disabled

 7   persons on or about October 27, 2022, February 27, 2023, and April 27, 2023, when he visit to

 8   transact business regarding his insurance. He was denied his civil rights under both California

 9   law and federal law, and continues to have his rights denied, because these facilities were not, and

10   are not now, properly accessible to physically disabled persons, including those who use a

11   wheelchair or other assistive devices for mobility.

12           3.      Plaintiff seeks injunctive relief to require Defendants to make these facilities

13   accessible to disabled persons and to ensure that any disabled person who attempts to patronize

14   the subject premises will be provided accessible facilities. Plaintiff also seeks recovery of

15   damages for his discriminatory experiences and denial of access and of civil rights, which denial

16   is continuing as a result of Defendants’ failure to provide disabled accessible facilities. Plaintiff

17   also seeks recovery of reasonable statutory attorney fees, litigation expenses and costs, under

18   federal and state law.

19           4.      JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

20   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

21   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

22   arising from the same facts are also brought under California law, including but not limited to

23   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,

24   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building

25   Code.

26           5.      VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

27   founded on the fact that the real property which is the subject of this action is located in this

28   district and that Plaintiff’s causes of action arose in this district.
                                                           2
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 3 of 16



 1           6.      INTRADISTRICT: This case should be assigned to the San Jose intradistrict as

 2   the real property which is the subject of this action is located in this intradistrict and Plaintiff’s

 3   causes of action arose in this intradistrict.

 4           7.      PARTIES: Plaintiff is a “qualified” physically disabled person who cannot walk

 5   due to paraplegia and who requires use of a wheelchair for locomotion. He owns a disabled

 6   licensed vehicle which entitles him to park in a properly configured disabled accessible parking

 7   space. He has been issued a California state placard for disabled parking.

 8           8.      Defendants ENJAY, INC. dba CARLOS AMEZCUA INSURANCE; HEBBRON

 9   PROPERTIES, LLC; A S & M M CAVA 1993 TRUST, are and were the owners, operators,

10   lessors and/or lessees of the subject business, property and buildings at all times relevant to this

11   Complaint. Plaintiff is informed and believes that each of the Defendants herein is the agent,

12   employee or representative of each of the other Defendants, and performed all acts and omissions

13   stated herein within the scope of such agency or employment or representative capacity and is

14   responsible in some manner for the acts and omissions of the other Defendants in proximately

15   causing the damages complained of herein.

16           9.      Carlos Amezcua Insurance (the “Insurance Company”) is a place of “public

17   accommodation” and “business establishment” subject to the requirements of 42 USC

18   section 12181(7)(F) of the Americans with Disabilities Act of 1990; of California Health &

19   Safety Code sections 19953 et seq.; of California Civil Code sections 51 et seq.; and of California

20   Civil Code sections 54 et seq. On information and belief, Carlos Amezcua Insurance and its

21   facilities were built after July 1, 1970, and since then have undergone construction and/or

22   “alterations, structural repairs, or additions,” subjecting each such facility to disabled access

23   requirements per Health & Safety Code sections 19953-19959 et seq., and, as to construction

24   and/or alterations since January 26, 1993, to the disabled access requirements of section 12183 of

25   the Americans with Disabilities Act of 1990. Such facilities constructed or altered since 1982 are

26   also subject to “Title 24,” the California State Architect’s Regulations, also known as the

27   California Building Code. Further, irrespective of the alteration history, such premises are

28   subject to the “readily achievable” barrier removal requirements of Title III of the Americans
                                                          3
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 4 of 16



 1   with Disabilities Act of 1990, as defined by the ADA. 42 USC § 12181(9).

 2          10.     FACTUAL STATEMENT: Plaintiff is a disabled person who uses a manual

 3   wheelchair for mobility. He relies on businesses and other public places to provide accessible

 4   parking facilities and paths of travel so that he can navigate the business on an equal basis to

 5   nondisabled patrons. Unfortunately, the architectural barriers that Plaintiff encountered at Carlos

 6   Amezcua Insurance made it impossible for him to access independently.

 7          11.     Plaintiff has been patronizing the Insurance Company for many years, since 2018.

 8   Plaintiff has hand controls on his vehicle and enjoys driving. He has been complaining frequently

 9   during that time, and prior to this lawsuit, to Insurance Company employees and managers about

10   the lack of accessible parking. There are fifteen parking spaces for members of the public to use

11   and enjoy, but not a single designated accessible parking space. There is also no way to park in

12   the parking lot that does not require people with disabilities like Plaintiff to travel behind parked

13   cars and in the vehicular driveway, risking being hit. There is also no safe path of travel that does

14   not require traversing steep slopes in excess of legal requirements such that Plaintiff risks tipping

15   over in his chair when travels from the parking lot to the entrance of the Insurance Company.

16          12.     On October 22, 2022, Plaintiff went to the Insurance Company to transact business

17   regarding the title for one his cars with his father. He and his father drove separately. There were

18   no accessible spaces, so Plaintiff had to use an available open space. However, he was worried

19   another car might come and box him out of being able to return to his car. As a result, he had to

20   wait to get a parking space close to the end of the row to avoid this. The path of travel to the

21   Insurance Company was uneven and caused him difficulty to use.

22          13.     On February 27, 2023, Plaintiff went with his fiancé to the Insurance Company to

23   add a new car to his policy. On this day, because there were no accessible spaces, Plaintiff had to

24   park in a regular parking space. Because he needed side transfer space to get out of his vehicle,

25   he was forced to exit the vehicle in the drive aisle, then ask his fiancé to park the car. This was

26   humiliating because Plaintiff prides himself on his independence, and dangerous because he could

27   have not been seen by other cars that may have pulled into the lot.

28          14.     Plaintiff made his way to the Insurance company front entrance, trying to avoid
                                                        4
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 5 of 16



 1   potholes and negotiating the slopes that caused him difficulty to balance and threatened to tip him

 2   over. He was able to transact his business and leave. Upon exiting, he had to rely on his

 3   girlfriend again to back his car out to allow him to get in the driver’s seat and drive away, adding

 4   to his embarrassment.

 5           15.     On April 27, 2023, Plaintiff needed to pay his insurance bill. Because there was

 6   still no accessible parking space he had to double park across two spaces, risking being towed, so

 7   that he could exist his vehicle safely. Because these spaces were in the middle of the parking

 8   area, he had to travel once again behind parked cars, risking being hit. Plaintiff was able to get to

 9   the Insurance Company and pay his bills, encountering the same barriers listed above from his

10   other visits.

11           16.     Defendants have failed to provide accessible parking and an accessible path of

12   travel to the from the parking lot to the entrance at Carlos Amezcua Insurance. To the extent that

13   Defendants could not make the paths of travel throughout the fully accessible because to do so

14   was not readily achievable, they failed to make the path of travel as accessible as possible for

15   disabled persons. Plaintiff estimates the costs of providing a compliant van accessible parking

16   space would be $2,500 for striping, signage, and patching potholes or cracks if necessary, and

17   other work. Further, he estimates improving the path of travel to the business would cost $1,000

18   for demolishing a small, 6-inch ft high concrete wheel stop to create a direct path of travel to the

19   entrance of the Insurance Company. Each of these are easy to do and do not cost very much to

20   accomplish, and the benefit to disabled persons and Plaintiff is the ability to use the facility safely

21   and independently at all.

22           17.     The above referenced barriers to access are listed without prejudice to Plaintiff

23   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

24   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

25   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

26   2011). All of these barriers to access render the premises inaccessible to physically disabled

27   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter

28   when he returns to the premises. All facilities must be brought into compliance with all
                                                         5
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 6 of 16



 1   applicable federal and state code requirements, according to proof.

 2          18.     Further, each and every violation of the Americans with Disabilities Act of 1990

 3   also constitutes a separate and distinct violation of California Civil Code section 54(c) and

 4   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to

 5   California law, including but not limited to Civil Code sections 54.3 and 55.

 6                              FIRST CAUSE OF ACTION:
             VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7                                 42 USC §§ 12101 et seq
 8          19.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,

 9   the allegations contained in Paragraphs 1 through 18 of this Complaint and incorporates them

10   herein as if separately re-pleaded.

11          20.     In 1990 the United States Congress made findings that laws were needed to more

12   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”

13   that “historically, society has tended to isolate and segregate individuals with disabilities;” that

14   “such forms of discrimination against individuals with disabilities continue to be a serious and

15   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities

16   are to assure equality of opportunity, full participation, independent living, and economic self-

17   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary

18   discrimination and prejudice denies people with disabilities the opportunity to compete on an

19   equal basis and to pursue those opportunities for which our free society is justifiably famous...”

20   42 U.S.C. §12101.

21          21.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation

22   Act and in the Americans with Disabilities Act of 1990.

23          22.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),

24   Congress stated as its purpose:

25          It is the purpose of this Act
26          (1) to provide a clear and comprehensive national mandate for the elimination of
            discrimination against individuals with disabilities;
27
            (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
28          against individuals with disabilities;
                                                         6
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 7 of 16



 1
             (3) to ensure that the Federal Government plays a central role in enforcing the standards
 2           established in this Act on behalf of individuals with disabilities; and

 3           (4) to invoke the sweep of congressional authority, including the power to enforce the
             fourteenth amendment and to regulate commerce, in order to address the major areas of
 4           discrimination faced day-to-day by people with disabilities.

 5   42 USC § 12101(b).

 6           23.      As part of the ADA, Congress passed “Title III - Public Accommodations and

 7   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

 8   facility is one of the “private entities” which are considered “public accommodations” for

 9   purposes of this title, which include but are not limited to any “insurance office.” 42 USC

10   § 12181(7)(F).

11           24.      The ADA states that “No individual shall be discriminated against on the basis of

12   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

13   or accommodations of any place of public accommodation by any person who owns, leases, or

14   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

15   prohibitions against discrimination include, but are not limited to the following:

16   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an

17   individual or class of individuals, on the basis of a disability or disabilities of such individual or

18   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

19   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

20   that is not equal to that afforded to other individuals.”

21   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

22   procedures when such modifications are necessary to afford such goods, services, facilities,

23   privileges, advantages, or accommodations to individuals with disabilities...;”

24   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no

25   individual with a disability is excluded, denied service, segregated, or otherwise treated

26   differently than other individuals because of the absence of auxiliary aids and services...;”

27   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

28   are structural in nature, in existing facilities... where such removal is readily achievable;”
                                                         7
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 8 of 16



 1   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

 2   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

 3   advantages, or accommodations available through alternative methods if such methods are readily

 4   achievable.”

 5   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under

 6   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

 7          25.     The removal of each of the physical barriers complained of by Plaintiff as

 8   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

 9   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

10   of the architectural and/or policy barriers complained of herein were already required under

11   California law. Further, on information and belief, alterations, structural repairs or additions

12   since January 26, 1993, have also independently triggered requirements for removal of barriers to

13   access for disabled persons per section 12183 of the ADA. In the event that removal of any

14   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

15   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and

16   accommodations through alternative methods that were “readily achievable.” In this case, for

17   example, Defendants could strip a van accessible parking space and provide signage identifying

18   the designated accessible path of travel.

19          26.     The ability to park in an accessible parking space that allows a wheelchair user to

20   enter and exit their vehicle safely is fundamental necessity of accessing and patronizing a

21   business. Therefore, the benefits of creating an accessible parking and path of travel does not

22   exceed the cost of readily achievable barrier removal. These costs are fundamental to doing

23   business, like any other essential function of operating any business, such as the costs of as

24   ensuring fire safety. It is thus readily achievable to remove these barriers.

25          27.     On information and belief, as of the dates of Plaintiff’s encounters at the premises

26   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have

27   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled

28   persons in other respects, which violate Plaintiff’s right to full and equal access and which
                                                         8
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 9 of 16



 1   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff

 2   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and

 3   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

 4          28.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

 5   deterring Plaintiff from patronizing Carlos Amezcua Insurance and discriminated and continue to

 6   discriminate against him on the basis of his disabilities, thus wrongfully denying to Plaintiff the

 7   full and equal enjoyment of Defendants’ goods, services, facilities, privileges, advantages and

 8   accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182. Plaintiff intends

 9   to return to patronize Carlos Amezcua Insurance once barriers to access have been removed.

10          29.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,

11   Plaintiff GABRIEL LOPEZ entitled to the remedies and procedures set forth in section 204(a) of

12   the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being subjected to

13   discrimination on the basis of his disabilities in violation of sections 12182 and 12183 of this title.

14   On information and belief, Defendants have continued to violate the law and deny the rights of

15   Plaintiff and other disabled persons to “full and equal” access to this public accommodation since

16   on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)

17          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
            shall include an order to alter facilities to make such facilities readily accessible to
18          and usable by individuals with disabilities to the extent required by this title. Where
            appropriate, injunctive relief shall also include requiring the provision of an
19          auxiliary aid or service, modification of a policy, or provision of alternative
            methods, to the extent required by this title.
20

21          30.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

22   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

23   implement the Americans with Disabilities Act of 1990. Plaintiff GABRIEL LOPEZ is a

24   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to

25   discrimination on the basis of disability in violation of Title III and who has reasonable grounds

26   for believing he will be subjected to such discrimination each time that he may use the property

27   and premises, or attempt to patronize Carlos Amezcua Insurance, in light of Defendants’ policies

28   and physical premises barriers.
                                                         9
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 10 of 16



 1           31.     Plaintiff seeks an award of reasonable attorney fees, litigation expenses and costs

 2   pursuant to 42 U.C.S section 12205.

 3   WHEREFORE, Plaintiff requests relief as outlined below.
 4                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
 5      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                  INCORPORATED
 6                          BY CIVIL CODE SECTION 51(f)
 7           32.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the

 8   factual allegations contained in Paragraphs 1 through 31 of this Complaint and incorporates them

 9   herein as if separately re-pleaded.

10           33.     At all times relevant to this complaint, California Civil Code section 51 has

11   provided that physically disabled persons are free and equal citizens of the state, regardless of

12   medical condition or disability:

13           All persons within the jurisdiction of this state are free and equal, and no matter
             what their sex, race, color, religion, ancestry, national origin, disability, or medical
14           condition are entitled to the full and equal accommodations, advantages, facilities,
             privileges, or services in all business establishments of every kind whatsoever.
15

16   Civil Code § 51(b). [Emphasis added.]
17           34.     California Civil Code section 52 provides that the discrimination by Defendants

18   against Plaintiff on the basis of his disability constitutes a violation of the general anti-

19   discrimination provisions of sections 51 and 52.

20           35.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

21   distinct violation of California Civil Code section 52, which provides that:

22           Whoever denies, aids or incites a denial, or makes any discrimination or distinction
             contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
23           actual damages, and any amount that may be determined by a jury, or a court sitting
             without a jury, up to a maximum of three times the amount of actual damage but in
24           no case less than four thousand dollars ($4,000), and any attorney’s fees that may
             be determined by the court in addition thereto, suffered by any person denied the
25           rights provided in Section 51, 51.5, or 51.6.
26           36.     Any violation of the Americans with Disabilities Act of 1990 also constitutes a

27   violation of California Civil Code section 51(f), thus independently justifying an award of

28   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per
                                                         10
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 11 of 16



 1   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

 2   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

 3             37.   The actions and omissions of Defendants as herein alleged constitute a denial of

 4   access to and use of the described public facilities by physically disabled persons within the

 5   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

 6   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

 7   sections 51 and 52, and are responsible for statutory, and compensatory damages to Plaintiff,

 8   according to proof.

 9             38.   FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

10   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

11   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

12   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

13   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

14   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

15   intended to require that Defendants make their facilities and policies accessible to all disabled

16   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

17   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

18   applicable law.

19                   WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter

20   stated.

21                                   THIRD CAUSE OF ACTION:
                                   DAMAGES AND INJUNCTIVE RELIEF
22             FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
                                        PUBLIC ACCOMMODATION
23              (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
24             39.   Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

25   the factual allegations contained in Paragraphs 1 through 38, above, and incorporates them herein

26   by reference as if separately repled hereafter.

27             40.   Plaintiff GABRIEL LOPEZ and other similarly situated physically disabled

28   persons, including those who require the use of an assistive device for mobility, are unable to use
                                                        11
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 12 of 16



 1   public facilities on a “full and equal” basis unless each such facility is in compliance with the

 2   provisions of California Health & Safety Code sections 19953 -19959. Plaintiff is a member of

 3   that portion of the public whose rights are protected by the provisions of Health & Safety Code

 4   sections 19953 et seq. Further, Plaintiff is also protected against policy and architectural barrier

 5   discrimination by California Civil Code sections 54 and 54.1, the “Disabled Persons Act.”

 6   “Individuals with disabilities or medical conditions have the same right as the general public to

 7   the full and free use of the streets, highways, sidewalks, walkways, public buildings, medical

 8   facilities, including hospitals, clinics, and physicians’ offices, public facilities, and other public

 9   places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be entitled to full

10   and equal access, as other members of the general public, to accommodations, advantages,

11   facilities, . . . places of public accommodation, amusement, or resort, and other places to which

12   the general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the ADA,

13   including but not limited to any violation of 42 USC sections 12182 and 12183, is also

14   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

15           41.     Title 24, California Code of Regulations, formerly known as the California

16   Administrative Code and now also known as the California Building Code, was in effect at the

17   time of each alteration which, on information and belief, occurred at such public facility since

18   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

19   each such “alteration, structural repair or addition” was carried out. On information and belief,

20   Defendants and/or their predecessors in interest carried out new construction and/or alterations,

21   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

22   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

23   structural repairs, and/or additions which triggered access requirements at all relevant portions the

24   Carlos Amezcua Insurance, also occurred between July 1, 1970, and December 31, 1981, and

25   required access pursuant to the A.S.A. (American Standards Association) Regulations then in

26   effect, pursuant to the incorporated provisions of California Government Code sections 4450 et

27   seq. Further, on information and belief, additions to the building after the initial construction also

28   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section
                                                         12
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 13 of 16



 1   19959. Alterations or additions after January 26, 1993 trigger ADA liability and requirements per

 2   42 USC sections 12182 and 12183 of the ADA.

 3           42.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

 4   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

 5   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

 6   physically disabled from full and equal access to these public facilities. Such acts and omissions

 7   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

 8   continue to treat Plaintiff as an inferior and second-class citizen and serve to discriminate against

 9   him on the sole basis that he is a person with disabilities who requires the use of a wheelchair or

10   other assistive device for movement in public places.

11           43.     Plaintiff is deterred from returning to use these facilities, because the lack of

12   access will foreseeably cause him further difficulty, discomfort and embarrassment, and Plaintiff

13   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

14   and use of these public facilities. Therefore, Plaintiff cannot return to patronize Carlos Amezcua

15   Insurance and its facilities and is deterred from further patronage until these facilities are made

16   properly accessible for disabled persons, including Plaintiff and other mobility disabled persons.

17   Plaintiff specifically intends to return and patronize Carlos Amezcua Insurance once it is made

18   accessible, including the parking and paths of travel.

19           44.     The acts of Defendants have proximately caused and will continue to cause

20   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to

21   all inaccessible areas of the premises that he has personally encountered, and, as to all areas

22   identified during this litigation by Plaintiff’s access consultant, that he or other physically

23   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

24   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

25   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to the Defendants that currently owns, operates,

26   and/or leases (from or to) the subject premises, Plaintiff seeks preliminary and permanent

27   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full

28   and equal access for disabled persons, and for reasonable statutory attorney fees, litigation
                                                         13
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 14 of 16



 1   expenses and costs.

 2          45.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

 3   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

 4   complained of and to require Defendants to comply forthwith with the applicable statutory

 5   requirements relating to access for disabled persons. Such injunctive relief is provided by

 6   California Health & Safety Code section 19953 and California Civil Code section 55, and other

 7   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

 8   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

 9   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

10   law, all as hereinafter prayed for.

11          46.     DAMAGES: As a result of the denial of full and equal access to the described

12   facilities and due to the acts and omissions of Defendants in owning, operating, leasing,

13   constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a violation of

14   his civil rights, including but not limited to rights under Civil Code sections 54 and 54.1, and has

15   suffered difficulty, discomfort and embarrassment, and physical, mental and emotional personal

16   injuries, all to his damages per Civil Code section 54.3, including general and statutory damages,

17   as hereinafter stated. Defendants’ actions and omissions to act constitute discrimination against

18   Plaintiff on the basis that he was and is physically disabled and unable, because of the

19   architectural and other barriers created and/or maintained by the Defendants in violation of the

20   subject laws, to use the public facilities on a full and equal basis as other persons. These

21   violations have deterred Plaintiff from returning to attempt to patronize Carlos Amezcua

22   Insurance and will continue to cause him damages each day these barriers to access continue to be

23   present. Plaintiff to intends to return to Carlos Amezcua Insurance once the premises has been

24   made accessible for his full and equal enjoyment.

25          47.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,

26   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

27   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

28   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore
                                                        14
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 15 of 16



 1   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the

 2   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

 3   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make their

 4   facilities accessible to all disabled members of the public, justifying “public interest” attorney

 5   fees, litigation expenses and costs pursuant to the provisions of California Code of Civil

 6   Procedure section 1021.5 and other applicable law.

 7          WHEREFORE, Plaintiff requests relief as outlined below.

 8                                                PRAYER

 9          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this

10   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the

11   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

12   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and

13   opposing legal positions as to Defendants’ violations of the laws of the United States and the

14   State of California. The need for relief is critical because the rights at issue are paramount under

15   the laws of the United States and the State of California.

16          WHEREFORE, Plaintiff GABRIEL LOPEZ prays for judgment and the following

17   specific relief against Defendants:

18          1.      Issue a preliminary and permanent injunction directing Defendants as current

19   owner, operator, lessor, and/or lessee of the subject property and premises to modify the above

20   described property, premises, policies and related facilities to provide full and equal access to all

21   persons, including persons with physical disabilities for use of their facility, including parking

22   facilities and paths of travel; and issue a preliminary and permanent injunction pursuant to ADA

23   section 12188(a) and state law directing Defendants to provide facilities usable by Plaintiff and

24   similarly situated persons with disabilities, and which provide full and equal access, as required

25   by law, and to maintain such accessible facilities once they are provided; to cease any

26   discriminatory policies, and to train Defendants’ employees and agents in how to recognize

27   disabled persons and accommodate their rights and needs;

28          2.      Retain jurisdiction over the Defendants until such time as the Court is satisfied that
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                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 5:23-cv-02227-VKD Document 1 Filed 05/08/23 Page 16 of 16



 1   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

 2   inaccessible public facilities and policies as complained of herein no longer occur, and cannot

 3   recur;

 4            3.     Award to Plaintiff all appropriate damages, including but not limited to statutory

 5   damages and general damages in amounts within the jurisdiction of the Court, all according to

 6   proof;

 7            4.     Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and

 8   costs of this proceeding as provided by law;

 9            5.     Award prejudgment interest pursuant to Civil Code section 3291; and

10            6.     Grant such other and further relief as this Court may deem just and proper.

11   Date: May 8, 2023                                       REIN & CLEFTON

12                                                              /s/ Aaron Clefton
                                                             By AARON CLEFTON, Esq.
13                                                           Attorneys for Plaintiff
14                                                           GABRIEL LOPEZ

15
                                               JURY DEMAND
16
              Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
17
     Date: May 8, 2023                                       REIN & CLEFTON
18

19                                                              /s/ Aaron Clefton
                                                             By AARON CLEFTON, Esq.
20
                                                             Attorneys for Plaintiff
21                                                           GABRIEL LOPEZ

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                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
